UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JUDITH MAYSONET and ANTHONY McFARLANE,
as Parents and Natural Guardians of A.M., and
JUDITH MAYSONET and ANTHONY McFARLANE,
Individually,                                                              Case No.: 22-cv-01685 (LGS)


                                   Plaintiffs,                             NOTICE OF MOTION


        -against-


NEW YORK CITY DEPARTMENT
OF EDUCATION,

                                    Defendant.
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        PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Plaintiffs’ Motion for Summary Judgment, dated June 24, 2022, and all pleadings and

proceedings heretofore had herein, Plaintiffs JUDITH MAYSONET and ANTHONY

McFARLANE, as Parents and Natural Guardians of A.M., and JUDITH MAYSONET and

ANTHONY McFARLANE, Individually, will move, pursuant to Rule 56 of the Federal Rules of

Civil Procedure, before the Honorable Lorna G. Schofield, United States District Judge, at the

Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New York 10007, at

a date and time to be determined by the Court, for an Order and Judgment granting Plaintiffs’

Motion for Summary Judgment in its entirety, and for such other, further and different relief as the

Court deems just, proper, and equitable.


Dated: June 24, 2022
       New York, NY
                                   Respectfully submitted,
                                   Brain Injury Rights Group, Ltd.
                                   Attorneys for Plaintiffs


                               By: _____/s/____________________
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cc:

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